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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                             Chapter 11

    Citadel Watford City Disposal Partners,            Case No. 15-11323 (LSS)
    L.P., et al., 1

                            Debtors.

    Gavin/Solmonese, Liquidation Trustee for
    the Citadel Creditors’ Grantor Trust,
    successor to Citadel Watford City Disposal
    Partners, L.P., et al.,

                            Plaintiff,

                     v.                              Adv. Pro. No. 17-50024 (LSS)

    Citadel Energy Partners, LLC, et al.,

                             Defendants.


                   DEFENDANT JONATHON P. REUBEN, C.P.A.’s
         OPENING BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT


DATED: Wilmington, Delaware                 John A. Elzufon, I.D. #177
       June 19, 2019                        Gary W. Alderson, I.D. #3895
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1
  The Debtors and the last four digits of their respective tax identification numbers are: Citadel
Energy Services, LLC (7762); Pembroke Fields, LLC (0341); Citadel Energy SWD Holdings, LLC
(5266); Citadel Watford City Disposal Partners, LP (1520). The mailing address for each Debtor
is c/o Gavin/Solmonese LLC, Liquidation Trustee, 919 N. Market St., Suite 600, Wilmington, DE
19801.
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       January 31, 2019. Any Party’s expert report intended to rebut any expert

       report served in accordance with the terms above shall be provided no later

       than April 26, 2019. All reports shall provide the information required by

       Fed. R. Civ. P. 26(a)(2)(B). All expert discovery shall be completed, and

       discovery shall close, no later than May 31, 2019.

                 3. All dispositive motion shall be filed and served no later than

       July 1, 2019 and shall be subject to Del. Bankr. L.R. 7007-1.

                 4. Mediation shall occur on or before June 21, 2019.”

       On January 31, 2019, the Trustee timely served an expert report by Ross B. Waetzman

(Ex. F). This report relates solely to damages. This was the only expert report submitted by the

Trustee.

       On April 26, 2019, the defense rebuttal report by Suzanne B. Roski (Ex. G) was timely

served and filed.

       Mr. Reuben has never been deposed in this case nor has his deposition been requested.

       Mediation was held before The Honorable Ian Connor Bifferato on June 18, 2019 and was

unsuccessful.

       On June 19, 2019, Reuben filed a Motion for Summary Judgment pursuant to Fed R. Civ.

P. 56(a) and Fed. R. Bankr. P. 7056 based on the proposition that the Trustee will not be able to

establish a prima facie case of professional negligence against Reuben because of the Trustee’s

failure to obtain an expert witness on liability issues.

       This is Reuben’s Opening Brief in support of his Motion for Summary Judgment.




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                                    STATEMENT OF FACTS


       I.      Background Facts

       According to the Amended Complaint (at ¶26), from approximately 2011 through the

Petition Date, defendants Stanton Dodson (“Dodson”), Nicholas J. Vanderwey (“Vanderwey”),

and Mark Dunaway (“Dunaway”), collectively referred to in the Complaint as the “Citadel

Partners” (¶18), fraudulently solicited investment funds for the operation of various business

ventures supportive of and dependent upon the shale oil-drilling industry in portions of the Bakken

Oil Field in North Dakota. Dodson, Vanderwey, and Dunaway were managing partners and/or

managing members and/or members of Citadel. The Amended Complaint further alleges (at ¶27-

28) that as part of their “interstate investment solicitation conspiracy,” the Citadel Partners

intermingled their own assets with entities they owned or controlled for their own convenience

and to evade payment of obligations and legal liability to various limited partners, investors,

licensees, vendors, and other third parties.

       Defendant Louis Bridges (“Bridges”) is an attorney who allegedly provided legal and other

services to one or more of the Citadel and/or Citadel-related entities, was a member and/or

managing member of Pembroke, and is a personal friend and longtime legal advisor to Dunaway.

The Complaint alleges that documents drafted by Bridges contained various errors as well as

unfavorable provisions to the detriment of Citadel, and as a member and/or managing member of

Pembroke, Bridges’ Actions and Concealing Actions and/or his failure to act, drove Citadel into

bankruptcy; and that based upon Citadel’s books and records, Bridges authorized a transfer of

Citadel property in the amount of $100,000 to Bakken, which Bakken then transferred, upon

Bridges’ instructions, to Dynamic Legal Recovery.




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       Allegedly, the principals of Citadel owned a controlling interest in Pembroke when the

Citadel Partners installed Pembroke as the operator for the planned saltwater disposal well of

Citadel Watford, while the infrastructure assets of the Citadel Watford saltwater disposal project

were owned by Pembroke SWD, LLC, a Georgia limited liability company, formed, owned and

controlled by Dunaway himself. Citadel allegedly entered into an agreement with Leland

Properties, LLC to acquire the surface lease opportunity and permits necessary to construct and

operate the saltwater disposal wells and Citadel contracted with Leland Properties, LLC to provide

equipment, maintenance, and consulting services for the operation of the saltwater disposal wells.

According to the Amended Complaint (at ¶39), on September 12, 2013, Pembroke entered into the

lease opportunity transferred by Leland Properties, LLC, entitled “Saltwater Injection and Surface

Use Lease (“Dahl Lease”), with landowner Nathan Dahl (“Dahl”).

       According to the Amended Complaint (at ¶51), a tornado struck and totally destroyed the

well and related facilities constructed on the land covered by the Dahl Lease in May of 2014.

Further alleged (at ¶¶ 54-58) was that the tornado damages exceeded $600,000 and insurance

proceeds over covered approximately half; but the proceeds were not received by Citadel or,

alternatively, were received by Citadel but subsequently were pilfered by one or more of the

Citadel Partners, were not used to pay the contractors amounts they were owed, and were not used

to reconstruct the well and related facilities. The failure to pay the contractors resulted in

mechanics’ liens being placed on the property, which clouded title to the Dahl Lease and

constituted a default under the Dahl Lease.

       According to the Amended Complaint (at ¶59), by April 15, 2015, defendants Carl Coward

(“Coward”), a de facto managing member and/or partner of Citadel (per the Amended Complaint

at ¶20), and defendant Alistair Smith (“Smith”) also alleged in the Amended Complaint (at ¶ 19)



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to be a de facto managing member and/or partner of Citadel; alleged that Dodson and Dunaway

had a falling out as managers and/or members of Citadel and Citadel-related entities, and as a

result, Dunaway was essentially forced to transfer all assets of Pembroke Fields, including the

Dahl lease, to a new entity he formed called “North Dakota Water Partners, LLC (“ND Water”),

which was controlled by Smith and Coward. The Amended Complaint alleges (at ¶61) that in May

of 2015, Bridges sent a letter on behalf of Coward, Smith and ND Water explaining the actions

taken by himself and the other ND Water Partners, and drafted the Assignment and Assumption

of the Dahl Lease, held by Pembroke Fields Holdings, LLC on behalf of Citadel, to ND Water.

        According to the Amended Complaint (at ¶¶64-67), in late May of 2015, Dahl filed and

mailed a notice of intent to evict pursuant to the Dahl Lease and in June of 2015 filed a lawsuit to

terminate the lease. After Dahl filed the notice of intent to evict, the ND Water Partners sent a

follow-up letter to the same subset of limited partners of Citadel, purporting to rescind the

assignment of the lease and all of Citadel’s assets to the ND Water entities. After Citadel filed for

bankruptcy in June 2015, Dahl sought relief from the automatic stay to continue his lawsuit to

terminate the Dahl Lease. To effectuate a sale of Citadel’s assets and to resolve the issues

presented by Dahl’s request, Dahl’s issues were resolved through negotiation and resulted in the

sale of substantially all of Citadel’s assets.

        II.     Facts Specific to Reuben

        The facts specific to Reuben as alleged by the Trustee are in the Amended Complaint

(Ex. A) in the section entitled Reuben’s Accounting Services comprising paragraphs 71-79 on

pages 23-25.

        Other facts as to Reuben here are found in his Answers to certain of the Trustee’s

Interrogatories (Ex. D) as follows:



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          •    Interrogatory 4 (pages 16-18) which sets forth why Reuben denied certain facts

               alleged in the Complaint;

          •    Interrogatory 6 (pages 18-19) regarding all services rendered by Reuben by to

               debtor from 2002 to and including the present;

          •    Interrogatory 19 (pages 22-23) which notes that the Trustee possesses Mr. Reuben’s

               SEC deposition;

          •    Interrogatory 20 (pages 23-24) regarding Reuben’s involvements with the Carlyle

               Group;

          •    Interrogatory 21 (pages 24-25) regarding Mr. Reuben’s view of the roles of the co-

               defendants in the Amended Complaint;

          •    Interrogatory 22 (page 25) regarding communications by Reuben to the

               management of any debtor regarding transfers of debtor’s assets to third parties;

          •    Interrogatory 23 (pages 25-26) regarding facts in Reuben’s possession as to

               numerous entities; and

          •    Interrogatory 24 (page 26) regarding Reuben’s possession regarding any entity not

               a debtor controlled or managed by Mr. Dodson or any entity in which Mr. Dodson

               was involved.

       Mr. Reuben also answered certain Request for Admissions by the Trustee set forth at pages

31-33 of Ex. D. In these responses Reuben:

          •    Admitted he prepared the 2013 tax return for Citadel Watford City Disposal

               Partners, L.P. (number 1);




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•    Admitted that the trial balance and supporting paperwork were prepared through

     the course of the 2013 tax return preparations for Citadel Watford City Disposal

     Partners, L.P. (number 2);

•    Denied that he performed any work for R.L. Environmental, Inc. (number 3);

•    Admitted he prepared discounted cash flow models for Citadel Watford City

     Disposal Partners, L.P. (number 4);

•    Admitted he prepared discounted cash flow models for Citadel private equity

     acquisitions and invoiced Citadel Watford City Disposal Partners, L.P. for that

     preparation (number 5);

•    Denied as phrased but admitted that the discounted cash flow models prepared for

     Citadel private equity acquisitions were also for the benefit of the overall Citadel

     venture which included the Debtors; that the invoices were billed to Citadel H20,

     LLC at the direction of Stanton Dodson and that it was Reuben’s understanding

     that the Carlyle Group planning to purchase the entire Citadel venture and bundle

     the entities together (number 6);

•    Denied that he performed work for Citadel H20, LLC, which he invoiced to Citadel

     Watford City Disposal Partners, L.P. (number 7);

•    Denied as stated but admitted that work Reuben performed was for the entire

     Citadel venture which included Citadel Watford Disposal Partners, L.P. or for any

     other debtor (number 8);

•    Admitted, without waiving is objection, that Reuben received Bank of America

     credit card information relating to Mr. Dodson’s expenses from Stanton Dodson

     himself but not Mr. Dodson’s Bank of America bank statements (number 9); and


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•    Denied as requested but admitted that Reuben performed accounting work between

     June and August 2015 at the direction of Mark Dunaway and discussed how this

     work was invoiced (number 10).




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                              SUMMARY OF ARGUMENTS

       I.     This Court Has Jurisdiction to Hear This Motion.

       II.    Reuben is Entitled to Summary Judgment Because the Trustee Will Be Able to

Establish a Prima Facie Case of Professional Negligence Against Reuben Due to the Trustee’s

Failure to Have the Requisite Expert Witness.




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                                           ARGUMENT

        I.     THIS COURT HAS JURISDICTION TO HEAR THIS MOTION.

        This Court has jurisdiction in this adversary proceeding that directly stems from the

Bankruptcy case. 3 Further, this Motion is related to the bankruptcy because its outcome could have

an effect upon the estate being administered in bankruptcy. 4 The outcome could alter the debtor's

rights, liabilities, options, or freedom of action, impacts upon the handling and administration of

the bankrupt estate, 5 and because “[n]owhere in ... Stern does the Supreme Court rule that the

bankruptcy court may not rule with respect to state law ... when deciding a matter directly and

conclusively related to the bankruptcy.” 6 The usual test for determining whether a civil proceeding

is related to bankruptcy is whether the outcome of that proceeding could conceivably have any

effect on the estate being administered in bankruptcy. “An action is related to bankruptcy if the

outcome could alter the debtor's rights, liabilities, options, or freedom of action (either positively

or negatively) and which in any way impacts upon the handling and administration of the bankrupt

estate.” 7

        Reference is also made to the JURISDICTION discussion on page 2 of Judge Carey’s

Opinion of December 17, 2018 (D.I. 226) (Exhibit H).




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  In re Am. Bus. Fin. Servs., Inc., 2011 WL 3240596 (Bankr. D. Del. July 28, 2011).
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  Pacor, Inc. v. Higgins, 743 F.2d 984, 994 (3d Cir. 1984).
5
  Id.
6
  In re Salander O'Reilly Galleries, 2011 WL 2837494, at *7 (Bankr. S.D.N.Y. July 18, 2011)
discussing Stern v. Marshall, 564 U.S. 462 (2011).
7
  Pacor, Inc., 743 F.2d at 994 (internal cites omitted).
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       II.     REUBEN IS ENTITLED TO SUMMARY JUDGMENT BECAUSE THE
               LITIGATION TRUSTEE HAS FAILED TO ESTABLISH A PRIMA
               FACIA CASE OF PROFESSIONAL NEGLIGENCE AGAINST REUBEN
               DUE TO THE TRUSTEE’S FAILURE TO HAVE THE REQUISITE
               EXPERT WITNESS.

       Notwithstanding the many thousands of pages that comprise this bankruptcy case, the

issue here is very straightforward and simple: Trustee’s allegations against Reuben in this

adversary proceeding are grounded in theories of negligence on the part of Reuben. This makes

them professional liability claims requiring expert witness testimony to make out a prima facie

case against Reuben. Since the Trustee has failed to retain a liability expert the Trustee will not

be able to establish a prima facie case of professional expert and summary judgment is

mandated.

       The need for a professional expert witness in professional negligence cases is neither

unusual nor esoteric. It is “black letter law” in both California, the location where the services

were rendered, 8 and in Delaware the forum state of this adversary proceeding. 9

       There can be no doubt that the claims by the Trustee against Mr. Reuben are professional

negligence claims.




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  Unigard Ins. Group v. O’Flaherty and Belgum, 45 Cal. Rptr 2d. 565, 570 (Ct App. Second
District 1995); Nat’l Medical Transp. Network v. Deloitte & Touche, 72 Cal. Rptr 2d. 720, 731
(Ct. App. Fourth District 1998)
9
  August v. Fifer, 2007 WL 980954 (Del. Super, January 9, 2007) citing Alston v. Hudson, 700
A.2d 735 (Table) 1997 WL 560883 (Del. Supr.)
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       As noted earlier, all claims against Reuben are set forth in COUNT XI of the Amended

Complaint (Ex. A) and are grounded in professional negligence as the title of Count IX

specifically notes.

                                   COUNT XI
                       PROFESSIONAL NEGLIGENCE AGAINST REUBEN
                       AND DOES 1 THROUGH 100, INCLUSIVE

       Paragraph 160 refers to “Accounting practices and transactions described herein” which

were breached by Reuben and who was “thereby negligent.”

       These “practices and transactions” are described herein in the Amended Complaint, at

paragraphs 71-79 on pages 23-25 of Ex. B. These are all accounting or accounting-based

“practices and transactions.”

       All the facts set forth in the STATEMENT OF FACTS, supra, at 5-8 are “practices and

transactions” which are accounting or accounting based.

       Everything about this case as to Reuben is based on allegations of accounting negligence.

       Accordingly, based on the relevant law, supra at 11, the Trustee is required to have an

expert witness to establish a prima facie case that Reuben was professionally (accounting)

negligent. The Trustee has not secured that expert.

       The Trustee has certainly had the time and information to obtain an expert witness as

follows:

           •    Per paragraph 162 of the Amended Complaint, Citadel first became aware of facts

                concerning Reuben’s conduct in April or May of 2015.

           •    Reuben answered the Amended Complaint on November 20, 2017.

           •    Reuben served his detailed discovery responses on October 6, 2018, which on

                page 23 in response to Interrogatory 19 notes that the Trustee is in possession of


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                 the December 8, 2016 deposition of Mr. Reuben in the Citadel v. SEC matter.

                 This deposition covered 238 pages with 21 appended exhibits.

          It may very well be the case that the Trustee and Trustee’s counsel have ideas of what

they contend are Mr. Reuben’s negligence. They are still nothing more than theories of

allegations unsupported by an expert.

          Paragraph 163 of the Amended Complaint notes that “but for Reuben’s negligence,

Citadel would not have been damaged.”

          The nexus between the alleged negligent acts of Reuben and the claimed damages of

Citadel must also be established through the use of expert testimony.

          To be sure, the Trustee did timely file the expert report of Mr. Waetzman (Ex. F), which

sets forth the claimed damages, but as Mr. Waetzman himself admits on page 11 of his report:

                 “In preparing the Report, I did not ascribe specific Damages to
                 specific Defendants.”

          This is another area which requires expert witness testimony and the jury would not be

able to determine which act by which defendant caused the claimed damages.

          Reuben’s position here is also consistent with Federal Rules of Evidence 701 and 702.

On their face, the allegations against Reuben and the facts upon which those allegations are

based can only be evaluated by one with specialized knowledge within the scope of F.R.E. 702

and not a lay person as contemplated by F.R.E. 701(c).

          Accordingly, Reuben’s position here is consistent with the substantive law of the

transaction state, California; the forum state, Delaware; and the Federal Rules of Evidence. 10

Mr. Reuben is entitled to Summary Judgment.




10
     Which have been adopted by this Court per Federal Bankruptcy Procedure 9017.)
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                                                 CONCLUSION

        For the forgoing reasons, Mr. Reuben is entitled to Summary Judgment.

                                                   ELZUFON AUSTIN & MONDELL, P.A.

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